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                                 1    Thiago M. Coelho, SBN 324715
                                      thiago@wilshirelawfirm.com
                                 2    Binyamin I. Manoucheri, SBN 336468
                                 3    binyamin@wilshirelawfirm.com
                                      WILSHIRE LAW FIRM
                                 4    3055 Wilshire Blvd., 12th Floor
                                 5    Los Angeles, California 90010
                                      Telephone: (213) 381-9988
                                 6    Facsimile: (213) 381-9989
                                 7
                                      Attorneys for Plaintiff, Portia Mason
                                 8
                                 9                        UNITED STATES DISTRICT COURT

                                 10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                      PORTIA MASON, an individual,             CASE NO.:
                                 12
                                                          Plaintiff,
                                                                                       COMPLAINT
3055 Wilshire Blvd, 12th Floor




                                 13
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                                            v.                                      1. VIOLATIONS OF THE
                                 14                                                    AMERICANS WITH
                                      KINGSWOOD LLC d/b/a
                                 15                                                    DISABILITIES ACT OF 1990, 42
                                      EVELEIGH, a California limited
                                                                                       U.S.C. § 12181
                                 16   liability company; and DOES 1 to 10,
                                                                                    2. VIOLATIONS OF THE UNRUH
                                      inclusive,
                                 17                                                    CIVIL RIGHTS ACT,
                                                                                       CALIFORNIA CIVIL CODE § 51
                                 18                      Defendants.
                                                                                       DEMAND FOR JURY TRIAL
                                 19
                                 20
                                            Plaintiff Portia Mason (hereafter “Plaintiff”) brings this action based upon
                                 21
                                      personal knowledge as to herself and her own acts, and as to all other matters upon
                                 22
                                      information and belief, based upon, inter alia, the investigations of her attorneys.
                                 23
                                                                NATURE OF THE ACTION
                                 24
                                            1.     Plaintiff is a visually impaired and legally blind individual who
                                 25
                                      requires screen-reading software to read website content using her computer.
                                 26
                                      Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with
                                 27
                                      visual impairments who meet the legal definition of blindness in that they have a
                                 28
                                                                                1
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                 2    who meet this definition have limited vision. Others have no vision.
                                 3          2.     Plaintiff brings this Complaint to secure redress against Kingswood
                                 4    LLC d/b/a Eveleigh (hereafter “Defendant”) and DOES 1-10 for its failure to
                                 5    design, construct, maintain, and operate its website to be fully and equally
                                 6    accessible to and independently usable by Plaintiff. Defendant’s denial of full and
                                 7    equal access to its website, and therefore denial of its products and services offered
                                 8    thereby and in conjunction with its physical location, is a violation of Plaintiff’s
                                 9    rights under the Americans with Disabilities Act (“ADA”) and California’s Unruh
                                 10   Civil Rights Act (“UCRA”).
                                 11         3.     Because Defendant’s website, https://www.theeveleigh.com/ (the
                                 12   “website” or “Defendant’s website”), is not fully or equally accessible to blind and
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                                 13   visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
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                                 14   injunction to cause a change in Defendant’s corporate policies, practices, and
                                 15   procedures so that Defendant’s website will become and remain accessible to
                                 16   Plaintiff and other blind and visually impaired consumers.
                                 17                                     THE PARTIES
                                 18         4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 19   County of Los Angeles. Plaintiff is a legally blind, visually impaired, handicapped
                                 20   person, and a member of a protected class of individuals under the ADA, pursuant
                                 21   to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth
                                 22   at 28 CFR §§ 36.101 et seq.
                                 23         5.     Defendant is a California limited liability company with its
                                 24   headquarters in Los Angeles, California. Defendant’s servers for the website are in
                                 25   the United States. Defendant conducts a large amount of its business in California
                                 26   and the United States as a whole. The physical location where Defendant’s goods
                                 27   and services are sold to the public constitutes a place of public accommodation.
                                 28   Defendant’s restaurant provides important goods and services to the public.
                                                                                 2
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                                 1    Defendant’s website provides consumers access to a “a genuine neighborhood
                                 2    restaurant and bar, where friends, community, and family gather on the Sunset
                                 3    Strip.” Consumers can access information regarding Defendant’s menus, making
                                 4    reservations, Defendant’s contact information, booking private events, purchasing
                                 5    gift cards, and Defendant’s social media webpages. Consumers can also access
                                 6    information regarding ordering online for pickup or delivery, Defendant’s location,
                                 7    and operating hours.
                                 8          6.     Plaintiff is unaware of the true names, identities, and capacities of each
                                 9    Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 10   complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 11   ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 12   Defendant sued herein as a DOE is legally responsible in some manner for the
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                                 13   events and happenings alleged herein and that each Defendant sued herein as a DOE
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                                 14   proximately caused injuries and damages to Plaintiff as set forth below.
                                 15         7.     Defendant’s restaurant is a public accommodation within the
                                 16   definition of Title III of the ADA, 42 U.S.C. § 12181(7).
                                 17         8.     The website, https://www.theeveleigh.com/, is a service, privilege, or
                                 18   advantage of Defendant’s services, products, and location.
                                 19                            JURISDICTION AND VENUE
                                 20         9.     Defendant is subject to personal jurisdiction in this District. Defendant
                                 21   has been and continues to commit the acts or omissions alleged herein in the Central
                                 22   District of California, that caused injury, and violated rights prescribed by the ADA
                                 23   and UCRA, to Plaintiff. A substantial part of the acts and omissions giving rise to
                                 24   Plaintiff’s claims occurred in the Central District of California. Specifically, on
                                 25   several separate occasions, Plaintiff has been denied the full use and enjoyment of
                                 26   the facilities, goods, and services of Defendant’s website in Los Angeles County.
                                 27   The access barriers Plaintiff has encountered on Defendant’s website have caused
                                 28   a denial of Plaintiff’s full and equal access multiple times in the past and now deter
                                                                                3
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    Plaintiff on a regular basis from accessing Defendant’s website. Similarly, the
                                 2    access barriers Plaintiff has encountered on Defendant’s website have impeded
                                 3    Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s
                                 4    brick-and-mortar location.
                                 5          10.    This Court also has subject-matter jurisdiction over this action
                                 6    pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                 7    under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1367.
                                 8          11.    This Court has personal jurisdiction over Defendant because it
                                 9    conducts and continues to conduct a substantial and significant amount of business
                                 10   in the State of California, County of Los Angeles, and because Defendant’s
                                 11   offending website is available across California.
                                 12         12.    Venue is proper in the Central District of California pursuant to 28
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                                 13   U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
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                                 14   continues to conduct a substantial and significant amount of business in this District,
                                 15   Defendant is subject to personal jurisdiction in this District, and a substantial
                                 16   portion of the conduct complained of herein occurred in this District.
                                 17     THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 18         13.    The Internet has become a significant source of information, a portal,
                                 19   and a tool for conducting business, doing everyday activities such as shopping,
                                 20   learning, banking, researching, as well as many other activities for sighted, blind,
                                 21   and visually impaired persons alike.
                                 22         14.    In today's tech-savvy world, blind and visually impaired people have
                                 23   the ability to access websites using keyboards in conjunction with screen access
                                 24   software that vocalizes the visual information found on a computer screen. This
                                 25   technology is known as screen-reading software.          Screen-reading software is
                                 26   currently the only method a blind or visually impaired person may use to
                                 27   independently access the internet. Unless websites are designed to be read by
                                 28   screen-reading software, blind and visually impaired persons are unable to fully
                                                                                 4
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    access websites, and the information, products, and services contained thereon.
                                 2          15.    Blind and visually impaired users of Windows operating system-
                                 3    enabled computers and devices have several screen-reading software programs
                                 4    available to them. Some of these programs are available for purchase and other
                                 5    programs are available without the user having to purchase the program separately.
                                 6    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 7    popular, separately purchased and downloaded screen-reading software program
                                 8    available for a Windows computer.
                                 9          16.    For screen-reading software to function, the information on a website
                                 10   must be capable of being rendered into text. If the website content is not capable
                                 11   of being rendered into text, the blind or visually impaired user is unable to access
                                 12   the same content available to sighted users.
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                                 13         17.    The international website standards organization, the World Wide
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                                 14   Web Consortium, known throughout the world as W3C, has published Success
                                 15   Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 16   hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 17   accessible to blind and visually impaired people. These guidelines are adopted,
                                 18   implemented, and followed by most large business entities who want to ensure their
                                 19   websites are accessible to users of screen-reading software programs. Though
                                 20   WCAG 2.1 has not been formally adopted as the standard for making websites
                                 21   accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 22   maintain, and provide a website that is accessible under the ADA to the public.
                                 23         18.    Within this context, the Ninth Circuit has recognized the viability of
                                 24   ADA claims against commercial website owners/operators with regard to the
                                 25   accessibility of such websites. Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 905-
                                 26   06 (9th Cir. 2019), cert. denied, 140 S.Ct. 122, 206 L. Ed. 2d 41 (2019). This is in
                                 27   addition to the numerous courts that have already recognized such application.
                                 28         19.    Each of Defendant’s violations of the Americans with Disabilities Act
                                                                                5
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 2    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 3    Civil Rights Act. Cal. Civ. Code § 51(f).
                                 4          20.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                 5    equal access to their accommodations, facilities, and services.         A substantial
                                 6    motivating reason for Defendant to deny Plaintiff access was the perception of
                                 7    Plaintiff’s disability.     Defendant’s denial of Plaintiff’s accessibility was a
                                 8    substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 9    to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 10   in causing the lack of access to Plaintiff. Unruh Civil Rights Act, Cal. Civ. Code §
                                 11   51.
                                 12         21.    Inaccessible or otherwise non-compliant websites pose significant
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                                 13   access barriers to blind and visually impaired persons.              Common barriers
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                                 14   encountered by blind and visually impaired persons include, but are not limited to,
                                 15   the following:
                                 16                a. A text equivalent for every non-text element is not provided;
                                 17                b. Title frames with text are not provided for identification and
                                 18                    navigation;
                                 19                c. Equivalent text is not provided when using scripts;
                                 20                d. Forms with the same information and functionality as for sighted
                                 21                    persons are not provided;
                                 22                e. Information about the meaning and structure of content is not
                                 23                    conveyed by more than the visual presentation of content;
                                 24                f. Text cannot be resized without assistive technology up to 200
                                 25                    percent without loss of content or functionality;
                                 26                g. If the content enforces a time limit, the user is not able to extend,
                                 27                    adjust or disable it;
                                 28                h. Web pages do not have titles that describe the topic or purpose;
                                                                                 6
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1                i. The purpose of each link cannot be determined from the link text
                                 2                    alone or from the link text and its programmatically determined link
                                 3                    context;
                                 4                j. One or more keyboard operable user interface lacks a mode of
                                 5                    operation where the keyboard focus indicator is discernible;
                                 6                k. The default human language of each web page cannot be
                                 7                    programmatically determined;
                                 8                l. When a component receives focus, it may initiate a change in
                                 9                    context;
                                 10               m. Changing the setting of a user interface component may
                                 11                   automatically cause a change of context where the user has not been
                                 12                   advised before using the component;
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                                 13               n. Labels or instructions are not provided when content requires user
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                                 14                   input;
                                 15               o. In content which is implemented by using markup languages,
                                 16                   elements do not have complete start and end tags, elements are not
                                 17                   nested according to their specifications, elements may contain
                                 18                   duplicate attributes and/or any IDs are not unique;
                                 19               p. Inaccessible Portable Document Format (PDFs); and
                                 20               q. The name and role of all User Interface elements cannot be
                                 21                   programmatically determined; items that can be set by the user
                                 22                   cannot be programmatically set; and/or notification of changes to
                                 23                   these items is not available to user agents, including assistive
                                 24                   technology.
                                 25                               FACTUAL BACKGROUND
                                 26         22.   Defendant offers the https://www.theeveleigh.com/ website to the
                                 27   public. The website offers features which should allow all consumers to access the
                                 28   goods and services which Defendant offers in connection with its physical location.
                                                                                7
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                                 1    The goods and services offered by Defendant include, but are not limited to, the
                                 2    following: Defendant’s food menu including items like vegie pasta, lamb meatballs,
                                 3    slow braised pork belly, crispy tenders, pepperoni pizza, butter toasted banana
                                 4    bread, crispy farro salad, truffle fries, and fresh fruit; Defendant’s cocktails such as
                                 5    Eveleigh lemonade, punch drunk love, sibling warfare, social butterfly, unicorn
                                 6    juice, and midnight rider; Defendant’s dessert menu items which includes lemon
                                 7    meringue pie, chocolate chip ice cream sandwich, and apple crips with vanilla ice
                                 8    cream; online reservations; Defendant’s contact information; private event booking;
                                 9    gift cards for purchase; and Defendant’s social media webpages. Furthermore,
                                 10   Defendant’s website allows consumers to access information regarding ordering
                                 11   online for pickup or delivery, Defendant’s location, and operating hours.
                                 12         23.    Based on information and belief, it is Defendant’s policy and practice
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                                 13   to deny Plaintiff, along with other blind or visually impaired users, access to
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                                 14   Defendant’s website, and to therefore specifically deny the goods and services that
                                 15   are offered and integrated within Defendant’s restaurant. Due to Defendant’s
                                 16   failure and refusal to remove access barriers on its website, Plaintiff and other
                                 17   visually impaired persons have been and are still being denied equal and full access
                                 18   to Defendant’s restaurant and the numerous goods, services, and benefits offered to
                                 19   the public through Defendant’s website.
                                 20   DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT, CAL. CIV.
                                 21                      CODE § 51(f) DENY PLAINTIFF ACCESS
                                 22         24.    Plaintiff is a visually impaired and legally blind person, who cannot
                                 23   use a computer without the assistance of screen-reading software. However,
                                 24   Plaintiff is a proficient user of the JAWS or NV ACCESS screen-reader(s) as well
                                 25   as Mac’s VoiceOver and uses it to access the internet.           Plaintiff has visited
                                 26   https://www.theeveleigh.com/ on several separate occasions using the JAWS and/or
                                 27   VoiceOver screen-readers.
                                 28         25.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                                                                 8
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1    encountered multiple access barriers which denied Plaintiff full and equal access to
                                 2    the facilities, goods, and services offered to the public and made available to the
                                 3    public on Defendant’s website. Due to the widespread access barriers Plaintiff
                                 4    encountered on Defendant’s website, Plaintiff has been deterred, on a regular basis,
                                 5    from accessing Defendant’s website.
                                 6          26.    While attempting to navigate Defendant’s website, Plaintiff
                                 7    encountered multiple accessibility barriers for blind or visually impaired people that
                                 8    include, but are not limited to, the following:
                                 9                 a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 10                   is invisible code embedded beneath a graphic or image on a website
                                 11                   that is read to a user by a screen-reader. For graphics or images to
                                 12                   be fully accessible for screen-reader users, it requires that alt-text
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                                 13                   be coded with each graphic or image so that screen-reading
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                                 14                   software can speak the alt-text to describe the graphic or image
                                 15                   where a sighted user would just see the graphic or image. Alt-text
                                 16                   does not change the visual presentation, but instead a text box
                                 17                   shows when the cursor hovers over the graphic or image. The lack
                                 18                   of alt-text on graphics and images prevents screen-readers from
                                 19                   accurately vocalizing a description of the image or graphic.
                                 20                b. Empty Links that contain No Text causing the function or purpose
                                 21                   of the link to not be presented to the user. This can introduce
                                 22                   confusion for keyboard and screen-reader users;
                                 23                c. Redundant Links where adjacent links go to the same URL address
                                 24                   which results in additional navigation and repetition for keyboard
                                 25                   and screen-reader users; and
                                 26                d. Linked Images missing alt-text, which causes problems if an image
                                 27                   within a link does not contain any descriptive text and that image
                                 28                   does not have alt-text. A screen reader then has no content to
                                                                                9
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                                 1                    present the user as to the function of the link, including information
                                 2                    or links for and contained in PDFs.
                                 3          27.    Recently in 2022, Plaintiff attempted to do business with Defendant
                                 4    on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 5    website.       Plaintiff   has    visited        prior     iterations   of   the   website,
                                 6    https://www.theeveleigh.com/, and also encountered barriers to access on
                                 7    Defendant’s website.
                                 8          28.    Despite past and recent attempts to do business with Defendant on its
                                 9    website, the numerous access barriers contained on the website and encountered by
                                 10   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 11   Plaintiff, as a result of the barriers on Defendant’s website, continues to be deterred
                                 12   from accessing Defendant’s website. Likewise, based on the numerous access
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                                 13   barriers Plaintiff has been deterred and impeded from the full and equal enjoyment
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                                 14   of goods and services offered in Defendant’s restaurant.
                                 15           DEFENDANT’S WEBSITE HAS A SUFFICIENT NEXUS TO
                                 16        DEFENDANT’S RESTAURANT LOCATION TO SUBJECT THE
                                 17      WEBSITE TO THE REQUIREMENTS OF THE AMERICANS WITH
                                 18                                    DISABILITIES ACT
                                 19         29.    In the Ninth Circuit a denial of equal access to a website can support
                                 20   an ADA claim if the denial has prevented or impeded a visually impaired plaintiff
                                 21   from equal access to, or enjoyment of, the goods and services offered at the
                                 22   defendant’s physical facilities. See Martinez v. San Diego County Credit Union, 50
                                 23   Cal. App. 5th, 1048, 1063 (2020) (citing Robles v. Domino’s Pizza, LLC, 913 F.3d
                                 24   898, 905-06 (9th Cir. 2019)).
                                 25         30.    Defendant’s website is subject to the ADA because the goods and
                                 26   services offered on the website are an extension of the goods and services offered
                                 27   in Defendant’s brick-and-mortar restaurant.              For example, the goods and the
                                 28   services which can be procured online are available for purchase in Defendant’s
                                                                                  10
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                                 1    brick-and-mortar restaurant. Thus, since the website “facilitate[s] access to the
                                 2    goods and services of a place of public accommodation”, the website falls within
                                 3    the protection of the ADA because the website “connects customers to the goods
                                 4    and services of [Defendant’s] physical” restaurant. Robles, 913 F.3d at 905.
                                 5          31.    Defendant’s website contains barriers which impede Plaintiff from
                                 6    accessing the goods and services of Defendant’s brick-and-mortar restaurant. For
                                 7    example, when Plaintiff accessed the website to familiarize herself with
                                 8    Defendant’s menu items and clicked on the menu heading, Plaintiff’s screen-reader
                                 9    did not read any menu items aloud. Moreover, Plaintiff’s screen-reader did not read
                                 10   aloud any descriptions for menu items or pricing. Accordingly, Plaintiff, who is
                                 11   blind, could not use her screen-reader to obtain any information of the menu items
                                 12   on Defendant’s website because of the website’s access barriers—denying her the
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                                 13   ability to familiarize herself with the menu items before going to the restaurant. If
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                                 14   Defendant had sufficiently coded the menu on its website to be readable by
                                 15   Plaintiff’s screen-reader, Plaintiff would have been able to interact with these
                                 16   elements access items on Defendant’s menu.
                                 17         32.    Accordingly, Plaintiff was denied the ability to browse Defendant’s
                                 18   website, garner information about Defendant’s menu, and visit the restaurant and
                                 19   order as a sighted person could because Defendant failed to have the proper
                                 20   procedures in place to ensure that content uploaded to the website contains the
                                 21   proper coding to convey the meaning and structure of the website and the goods
                                 22   and services provided by Defendant.
                                 23         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                 24         33.    Due to the inaccessibility of the Defendant’s website, blind and
                                 25   visually impaired customers such as Plaintiff, who need screen-readers, cannot fully
                                 26   and equally use or enjoy the facilities and services Defendant offers to the public
                                 27   on its website. The access barriers Plaintiff has encountered have caused a denial
                                 28   of Plaintiff’s full and equal access in the past and now deter Plaintiff on a regular
                                                                               11
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                                 1    basis from accessing the website.
                                 2          34.    These access barriers on Defendant’s website have deterred Plaintiff
                                 3    from enjoying the goods and services of Defendant’s brick-and-mortar restaurant
                                 4    which are offered through Defendant’s website in a full and equal manner to sighted
                                 5    individuals. Plaintiff and Class Members intend to visit the Defendant’s website in
                                 6    the near future if Plaintiff and Class Members could access Defendant’s website as
                                 7    a sighted person can.
                                 8          35.    If the website were equally accessible to all, Plaintiff could
                                 9    independently navigate the website and complete a desired transaction, as sighted
                                 10   individuals do.
                                 11         36.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 12   knowledge of the access barriers that make these services inaccessible and
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                                 13   independently unusable by blind and visually impaired people.
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                                 14         37.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 15   with equal access to the website, Plaintiff alleges that Defendant engaged in acts of
                                 16   intentional discrimination, including, but not limited to, the following policies or
                                 17   practices: constructing and maintaining a website that is inaccessible to visually-
                                 18   impaired individuals, including Plaintiff; failing to construct and maintain a website
                                 19   that is sufficiently intuitive so as to be equally accessible to visually-impaired
                                 20   individuals, including Plaintiff; and failing to take actions to correct these access
                                 21   barriers in the face of substantial harm and discrimination to blind and visually-
                                 22   impaired consumers, such as Plaintiff, as a member of a protected class.
                                 23         38.    The Defendant uses standards, criteria or methods of administration
                                 24   that have the effect of discriminating or perpetuating the discrimination against
                                 25   others, as alleged herein.
                                 26         39.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 27   seeks in this action. In relevant part, the ADA requires:
                                 28
                                                                                12
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                                 1          In the case of violations of … this title, injunctive relief shall include
                                 2          an order to alter facilities to make such facilities readily accessible to
                                 3          and usable by individuals with disabilities …. Where appropriate,
                                 4          injunctive relief shall also include requiring the … modification of a
                                 5          policy …. 42 U.S.C. § 12188(a)(2).
                                 6          40.    Because Defendant’s website has never been equally accessible, and
                                 7    because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 8    the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 9    U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                 10   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 11   with WCAG 2.1 guidelines for Defendant’s website.             The website must be
                                 12   accessible for individuals with disabilities who use desktop computers, laptops,
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                                 13   tablets, and smartphones. Plaintiff seeks that this permanent injunction require
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                                 14   Defendant to cooperate with the agreed-upon consultant to: train Defendant’s
                                 15   employees and agents who develop the website on accessibility compliance under
                                 16   the WCAG 2.1 guidelines; regularly check the accessibility of the website under
                                 17   the WCAG 2.1 guidelines; regularly test user accessibility by blind or vision-
                                 18   impaired persons to ensure that the Defendant’s website complies under the WCAG
                                 19   2.1 guidelines; and develop an accessibility policy that is clearly disclosed on the
                                 20   Defendant’s website, with contact information for users to report accessibility-
                                 21   related problems and require that any third-party vendors who participate on the
                                 22   Defendant’s website to be fully accessible to the disabled by conforming with
                                 23   WCAG 2.1.
                                 24         41.    If Defendant’s website were accessible, Plaintiff could independently
                                 25   access information about the services offered and goods available for online
                                 26   purchase.
                                 27         42.    Although Defendant may currently have centralized policies regarding
                                 28   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                                                                13
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                                 1    reasonably calculated to make Defendant’s website fully and equally accessible to,
                                 2    and independently usable by, blind and other visually impaired consumers.
                                 3           43.    Defendant has, upon information and belief, invested substantial sums
                                 4    in developing and maintaining Defendant’s website, and Defendant has generated
                                 5    significant revenue from Defendant’s website. These amounts are far greater than
                                 6    the associated cost of making Defendant’s website equally accessible to visually
                                 7    impaired customers.
                                 8           44.    Without injunctive relief, Plaintiff will continue to be unable to
                                 9    independently use Defendant’s website, violating their rights.
                                 10                                         COUNT I
                                 11      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 12                                  U.S.C. § 12181 ET SEQ.
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                                 13          45.    Plaintiff alleges and incorporates herein by reference each and every
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                                 14   allegation contained in paragraphs 1 through 44, inclusive, of this Complaint as if
                                 15   set forth fully herein.
                                 16          46.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 17   provides: “No individual shall be discriminated against on the basis of disability in
                                 18   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 19   advantages, or accommodations of any place of public accommodation by any
                                 20   person who owns, leases (or leases to), or operates a place of public
                                 21   accommodation.” 42 U.S.C. § 12182(a).
                                 22          47.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 23   discrimination also includes, among other things: “a failure to make reasonable
                                 24   modifications in policies, practices, or procedures, when such modifications are
                                 25   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 26   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 27   that making such modifications would fundamentally alter the nature of such goods,
                                 28   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                                                                14
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                                 1    take such steps as may be necessary to ensure that no individual with a disability is
                                 2    excluded, denied services, segregated or otherwise treated differently than other
                                 3    individuals because of the absence of auxiliary aids and services, unless the entity
                                 4    can demonstrate that taking such steps would fundamentally alter the nature of the
                                 5    good, service, facility, privilege, advantage, or accommodation being offered or
                                 6    would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 7    accommodation shall take those steps that may be necessary to ensure that no
                                 8    individual with a disability is excluded, denied services, segregated or otherwise
                                 9    treated differently than other individuals because of the absence of auxiliary aids
                                 10   and services, unless the public accommodation can demonstrate that taking those
                                 11   steps would fundamentally alter the nature of the goods, services, facilities,
                                 12   privileges, advantages, or accommodations being offered or would result in an
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                                 13   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
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                                 14   order to be effective, auxiliary aids and services must be provided in accessible
                                 15   formats, in a timely manner, and in such a way as to protect the privacy and
                                 16   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 17         48.    Defendant’s location is a “public accommodation” within the meaning
                                 18   of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue
                                 19   from the sale of its amenities and services, privileges, advantages, and
                                 20   accommodations in California through its location, related services, privileges,
                                 21   advantages, and accommodations, and its website, https://www.theeveleigh.com/,
                                 22   is a service, privilege, advantage, and accommodation provided by Defendant that
                                 23   is inaccessible to customers who are visually impaired like Plaintiff.          This
                                 24   inaccessibility denies visually impaired customers full and equal enjoyment of and
                                 25   access to the facilities and services, privileges, advantages, and accommodations
                                 26   that Defendant makes available to the non-disabled public. Defendant is violating
                                 27   the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant
                                 28   denies visually impaired customers the services, privileges, advantages, and
                                                                               15
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                                 1    accommodations provided by https://www.theeveleigh.com/. These violations are
                                 2    ongoing.
                                 3           49.    Defendant’s actions constitute intentional discrimination against
                                 4    Plaintiff on the basis of a disability in violation of the Americans with Disabilities
                                 5    Act, 42 U.S.C. § 12181 et seq. in that: Defendant has constructed a website that is
                                 6    inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
                                 7    failed to take adequate actions to correct these barriers even after being notified of
                                 8    the discrimination that such barriers cause.
                                 9           50.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 10   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 11                                         COUNT II
                                 12      VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
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                                 13                                CIVIL CODE § 51 ET SEQ.
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                                 14          51.    Plaintiff alleges and incorporates herein by reference each and every
                                 15   allegation contained in paragraphs 1 through 50, inclusive, of this Complaint as if
                                 16   set forth fully herein.
                                 17          52.    Defendant’s location is a “business establishment” within the meaning
                                 18   of the California Civil Code § 51 et seq. Defendant generates millions of dollars in
                                 19   revenue from the sale of its services in California through its location and related
                                 20   services, and https://www.theeveleigh.com/ is a service provided by Defendant that
                                 21   is inaccessible to customers who are visually impaired like Plaintiff.              This
                                 22   inaccessibility denies visually impaired customers full and equal access to
                                 23   Defendant’s facilities and services that Defendant makes available to the non-
                                 24   disabled public. Defendant is violating the Unruh Civil Rights Act, California Civil
                                 25   Code § 51 et seq., in that Defendant is denying visually impaired customers the
                                 26   services provided by https://www.theeveleigh.com/. These violations are ongoing.
                                 27          53.    Defendant’s actions constitute intentional discrimination against
                                 28   Plaintiff on the basis of a disability in violation of the Unruh Civil Rights Act,
                                                                                 16
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                                 1    California Civil Code § 51 et seq. in that: Defendant has constructed a website that
                                 2    is inaccessible to Plaintiff ; maintains the website in this inaccessible form; and has
                                 3    failed to take adequate actions to correct these barriers even after being notified of
                                 4    the discrimination that such barriers cause.
                                 5          54.      Defendant is also violating the Unruh Civil Rights Act, California
                                 6    Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                 7    violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 8    of the California Civil Code provides that a violation of the right of any individual
                                 9    under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 10         55.      The actions of Defendant were and are in violation of the Unruh Civil
                                 11   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff is entitled to
                                 12   injunctive relief remedying the discrimination.
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                                 13         56.      Plaintiff is also entitled to statutory minimum damages pursuant to
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                                 14   California Civil Code § 52 for each and every offense.
                                 15         57.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.
                                 16         58.      Plaintiff is also entitled to a preliminary and permanent injunction
                                 17   enjoining Defendant from violating the Unruh Civil Rights Act, California Civil
                                 18   Code § 51 et seq., and requiring Defendant to take the steps necessary to make
                                 19   https://www.theeveleigh.com/ readily accessible to and usable by visually impaired
                                 20   individuals.
                                 21                                  PRAYER FOR RELIEF
                                 22         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
                                 23   in her favor and against Defendant as follows:
                                 24         A.       A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 25                  12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 26                  enjoining Defendant from violating the Unruh Civil Rights Act and
                                 27                  ADA and requiring Defendant to take the steps necessary to make
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                                                                                  17
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                                 1                 https://www.theeveleigh.com/ readily accessible to and usable by
                                 2                 visually-impaired individuals;
                                 3           B.    An award of statutory minimum damages of $4,000 per offense
                                 4                 pursuant to section 52(a) of the California Civil Code.
                                 5           C.    For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 6                 52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 7           D.    For pre-judgment interest to the extent permitted by law;
                                 8           E.    For costs of suit; and
                                 9           F.    For such other and further relief as the Court deems just and proper.
                                 10                            DEMAND FOR JURY TRIAL
                                 11          Plaintiff, on behalf of herself, hereby demands a jury trial for all claims so
                                 12   triable.
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                                 14   Dated: June 30, 2022                          Respectfully Submitted,
                                 15
                                                                                    /s/ Thiago M. Coelho
                                 16                                                 Thiago M. Coelho
                                 17                                                 Binyamin I. Manoucheri
                                                                                    WILSHIRE LAW FIRM
                                 18                                                 Attorneys for Plaintiff, Crystal
                                 19                                                 Redick

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